Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 1 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 2 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 3 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 4 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 5 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 6 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 7 of 8
Case 2:04-cr-00452-WBS Document 56 Filed 04/26/05 Page 8 of 8
